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       Fill in this information to identify your case:


       Debtor 1              !voile                 M.                   Hines                                               Check if this is an amended
                             First Name            Middle Name               Last Name
                                                                                                                             plan, and list below the
                                                                                                                             sections of the plan that have
       Debtor 2
       (Spouse, if filing)   First Name            Middle Name               Last Name
                                                                                                                             been changed.


       United States Bankruptcy Court for the Western District of Pennsylvania


            Case number 18-24942
       (if known)




  Western District of Pennsylvania
  Chapter 13 Plan Dated:                                         1-18-2019


   Part 1:             Notices

   To Debtors:               This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                             indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules and judicial
                             rulings may not be confirmable. The terms of this plan control unless otherwise ordered by the court.

                             In the following notice to creditors, you must check each box that applies.

   To Creditors:             YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. YOUR CLAIM MAY BE REDUCED, MODIFIE                                     ELIMINATED.

                             You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                             attorney, you may wish to consult one.

                             IF YOU OPPOSE THIS PLAN'S TREATMENT OF YOUR CLAIM OR ANY PROVISION OF THIS PLAN, YOU OR YOUR
                             ATTORNEY MUST FILE AN OBJECTION TO CONFIRMATION AT LEAST SEVEN (7) DAYS BEFORE THE DATE SET FOR
                             THE CONFIRMATION HEARING, UNLESS OTHERWISE ORDERED BY THE COURT. THE COURT MAY CONFIRM THIS
                             PLAN WITHOUT FU THER NOTICE I ECTION TO CONFIRMATION IS FILED. SEE BANKRUPTCY RULE 3015. IN
                             ADDITION           ED TO FILE A TIMELY PROOF OF CLAIM IN ORDER TO BE PAID UNDER ANY PLAN.

                             The following matter                  ticular importance. Debtor(s) must check one box on each line to state whether the plan
                             includes each of the following items. If the "Included" box is unchecked or both boxes are checked on each li the
                             provision will be ineffective if set out later in the plan.

 1.1         A limit on the amount of any claim or arrearages set out in Part 3, which may result in a partial
             payment or no payment to the secured creditor (a separate action will be required to                            C     Included    (ii   Not Included
             effectuate such limit)
 1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in
            Section 3.4 (a separate action will be required to effectuate such limit)                                        C Included        *     Not Included

 1.3        Nonstandard provisions, set out in Part 9                                                                        0 Included        CO'   Not Included



  Part 2:              Plan Payments and Length of Plan


2.1 Debtor(s) will make regular payments to the trustee:

       Total amount of $ 2,100.00                 per month for a remaining plan term of 60         months shall be paid to the trustee from future earnings as
       follows:
       Payments              By Income Attachment        Directly by Debtor                By Automated Bank Transfer

       D#1                                $0.00                      $2,100.00                         $0.00

       D#2                                $0.00                        $0.00                           $0.00

       (Income attachments must be used by debtors having attachable income)                (SSA direct deposit recipients only)




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Amount of secured claim
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    Debtor(s) Ivorie M. Hines                                                                                      Case number         18-24942


     3.3 Secured claims excluded from 11 U.S.C. § 506.

          Check one.

          Z1 None. If "None" is checked, the rest of Section 3.3 need not be completed or reproduced.

                The claims listed below were either:

          (1) Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for personal
          use of the debtor(s), or

          (2) Incurred within one (1) year of the petition date and secured by a purchase money security interest in any other thing of value.

          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the trustee.

          Name of creditor                        Collateral                                        Amount of claim       Interest       Monthly payment
                                                                                                                          rate           to creditor

                                                                                                           $0.00                 0%               $0.00


          Insert additional claims as needed.


     3.4 Lien Avoidance.

          Check one.
                None.   If "None" is checked, the rest of Section 3.4 need not be completed or reproduced.             The remainder of this paragraph will be
          [z]   effective only if the applicable box in Part 1 of this plan is checked.
                The judicial liens or nonpossessory, nonpurchase-money security interests securing the claims listed below impair exemptions to which the
                debtor(s) would have been entitled under 11 U.S.C. § 522(b). The debtor(s) will request, by filing a separate motion, that the court order
                the avoidance of a judicial lien or security interest securing a claim listed below to the extent that it impairs such exemptions. The amount of
                any judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount, if any,
                of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C. § 522(f
                                 le 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.

          Name of creditor                          Collateral                                      Modified principal      Interest      Monthly payment
                                                                                                    balance*                rate          or pro rata

                                                                                                            $0.00                 0%              $0.00


          Insert additional claims as needed.

          *If the lien will be wholly avoided, insert $0 for Modified principal balance.

     3.5 Surrender of Collateral.
          Check one.

          Z1 None. If "None" is checked, the rest of Section 3.5 need not be completed or reproduced.

                The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim. The debtor(s) request that upon
                confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under 11 U.S.C. § 1301
                be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5.

          Name of creditor                                                             Collateral




          Insert additional claims as needed.




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     4.5 Priority Domestic Support Obligations not assigned or owed to a governmental unit.

          If the debtor(s) is/are currently paying Domestic Support Obligations through existing state court order(s) and leaves this section blank, the
          debtor(s) expressly agrees to continue paying and remain current on all Domestic Support Obligations through existing state court orders.


              Check here if this payment is for prepetition arrearages only.

          Name of creditor (specify the actual payee, e.g. PA      Description                             Claim                    Monthly payment
          SCDU)                                                                                                                     or pro rata


                                                                                                                     $0.00                   $0.00


          Insert additional claims as needed.

     4.6 Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount.
          Check one.
          Z1 None. If "None" is checked, the rest of Section 4.6 need not be completed or reproduced.

              The allowed priority claims listed below are based on a Domestic Support Obligation that has been assigned to or is owed to a
              governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This provision requires that
              payments in Section 2.1 be for a term of 60 months. See 11 U.S.C. § 1322(a)(4).


          Name of creditor                                                              Amount of claim to be paid



                                                                                                                       $0.00


          Insert additional claims as needed.

     4.7 Priority unsecured tax claims paid in full.
          Name of taxing authority                          Total amount of claim Type of tax                         Interest         Tax periods
                                                                                                                      rate (0% if
                                                                                                                      blank)

                                                                      $0.00                                                    0%


          Insert additional claims as needed.




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      Part 5:       Treatment of Nonpriority Unsecured Claims


     5.1 Nonpriority unsecured claims not separately classified.

          Debtor(s) ESTIMATE(S) that a total of $ 0               will be available for distribution to nonpriority unsecured creditors.


          Debtor(s) ACKNOWLEDGE(S) that a MINIMUM of $ 0               shall be paid to nonpriority unsecured creditors to comply with the liquidation
          altemative test f   tion set f th in 11 U.S.C. § 1325(a)(4).

          The total pool of funds estimated above is NOT the MAXIMUM amount payable to this class of creditors. Instead, the actual pool of funds
          available for payment to these creditors under the plan base will be determined only after audit of the plan at time of completion. The estimated
          percentage of payment to general unsecured creditors is 0 %. The percentage of payment may change, based upon the total amount
          of allowed claims. Late-filed claims will not be paid unless all timely filed claims have been paid in full. Thereafter, all late-filed claims will be paid
          pro-rata unless an objection has been filed within thirty (30) days of filing the claim. Creditors not specifically identified elsewhere in this plan are
          included in this class.

     5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims.

          Check one.

          Z1 None. If "None" is checked, the rest of Section 5.2 need not be completed or reproduced.


                The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below on
                which the last payment is due after the final plan payment. These payments will be disbursed by the trustee. The claim for the arrearage
                amount will be paid in full as specified below and disbursed by the trustee.
          Name of creditor                                       Current installment         Amount of arrearage      Estimated total                 Payment
                                                                 payment                     to be paid on the claim payments                         beginning
                                                                                                                      by trustee                      date (MM/
                                                                                                                                                      YYYY)


                                                                            $0.00                       $0.00                       $0.00


          Insert additional claims as needed.


     5.3 Postpetition utility monthly payments.

          The provisions of Section 5.3 are available only if the utility provider has agreed to this treatment          These payments comprise a single
          monthly combined payment for postpetition utility services, any postpetition delinquencies, and unpaid security deposits. The claim payment will
          not change for the life of the plan. Should the utility obtain a court order authorizing a payment change, the debtor(s) will be required to file an
          amended plan. These payments may not resolve all of the postpetition claims of the utility. The utility may require additional funds from the
          debtor(s) after discharge.

          Name of creditor                                                   Monthly payment                    Postpetition account number



                                                                                           $0.00


          Insert additional claims as needed.




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      Part 10:    Signatures


     10.1 Signatures of Debtor(s) and Debtor(s)' Attorney.

     If the debtor(s) do not have an attorney, the debtor(s) must sign below; otherwise the debtor(s)' signatures are optional. The attomey for the
     debtor(s), if any, must sign below.

     By signing this plan the undersigned, as debtor(s)' attomey or the debtor(s) (if pro se), certify(ies) that Uwe have reviewed any prior confirmed plan(s),
     order(s) confirming prior plan(s), proofs of claim filed with the court by creditors, and any orders of court affecting the amount(s) or treatment of any
     creditor claims, and except as modified herein, this proposed plan conforms to and is consistent with all such prior plans, orders, and claims. False
     certifications shall subject the signatories to sanctions under Bankruptcy Rule 9011.

     By filing this document, debtor(s)' att            tor(s) (if pro se), also certify(ies) that the wording and order of the provisions in this
     chapter 13 plan are identical t                                                   Ian form adopted for use by the United States Bankruptcy
     Court for the Western District of Pennsylvania, other than any nonstandard provisions included in Part 9. It is further acknowledged that
     any deviation from the standard plan form shall not become operative unless it is specifically identified as a "nonstandard" term and is
     approved by the court in a separate order.




     X Ivorie M. Hines /s/                                                   X
     Signature of Debtor 1                                                   Signature of Debtor 2


     Executed on 1/18/2019                                                   Executed on

                 MM/DD/YYYY                                                                MM/DD/YYYY



     X Franklin L. Robinson, Jr. /s/                                         Date 1/18/2019

     Signature of debtor(s)' attomey                                              MM/DD/YYYY




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